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                                                     Counsel for Defendants
13

14                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
15

16   DANIEL VALENTI, et al.,                          Case No.: 3:21-cv-06118-JD
17                         Plaintiffs,                Hon. James Donato
18                 v.                                 STIPULATION AND [PROPOSED]
                                                      ORDER REGARDING DEFENDANTS’
19   DFINITY USA RESEARCH LLC, et al.,                RESPONSE TO THE SECOND
                                                      AMENDED COMPLAINT AND
20                         Defendants.                MOTION TO DISMISS BRIEFING
                                                      SCHEDULE
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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ RESPONSE TO THE SECOND
      AMENDED COMPLAINT AND MOTION TO DISMISS BRIEFING SCHEDULE – No. 3:21-cv-06118-JD
            Case 3:21-cv-06118-JD          Document 137         Filed 12/21/23      Page 2 of 6




 1          Pursuant to Civil Local Rule 6-2, Lead Plaintiff Henry Rodriguez and named plaintiff

 2 Daniel Valenti, on behalf of themselves and all others similarly situated (collectively, “Plaintiffs”),

 3 and Defendants Dfinity USA Research LLC, Dfinity Foundation, and Dominic Williams

 4 (collectively, “Defendants,” and together with Plaintiffs, “the Parties”), by and through their

 5 respective undersigned counsel, hereby stipulate and agree as follows.

 6          WHEREAS, on December 15, 2023, the Court entered an order (the “Order”) appointing

 7 Selendy Gay Elsberg PLLC as the new lead counsel in this securities putative class action pursuant

 8 to Section 27(a)(3)(B)(v) of the Securities Act, 15 U.S.C. § 77z-1(a)(3)(B)(v), Section

 9 21D(a)(3)(B)(v) of the Exchange Act, 15 U.S.C. §78u-4(a)(3)(B)(v), and Rule 23(g) of the Federal

10 Rules of Civil Procedure (ECF No. 136);

11          WHEREAS, the Order directed Rodriguez to file a further amended complaint (“Second

12 Amended Complaint”) by January 29, 2024;

13          WHEREAS, the Order further directed the Parties to meet and confer on a schedule for

14 Defendants’ response to the amended complaint and a briefing schedule for any motion to dismiss;

15 and

16          WHEREAS, the Parties have met and conferred regarding a schedule for Defendants’

17 response to the amended complaint and a briefing schedule for any motion to dismiss;

18          NOW THEREFORE, subject to the approval of the Court, the Parties, through their

19 undersigned counsel, hereby STIPULATE and AGREE as follows:

20          1.      Defendants shall answer, move against, or otherwise respond to the Second
21
     Amended Complaint on or before March 29, 2024.
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            2.      If the Defendants move to dismiss the Second Amended Complaint, Plaintiffs shall
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     file any opposition to the motion to dismiss on or before May 28, 2024, and Defendants shall file
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25 any reply on or before July 12, 2024.

26          IT IS SO STIPULATED.
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      STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ RESPONSE TO THE SECOND
       AMENDED COMPLAINT AND MOTION TO DISMISS BRIEFING SCHEDULE – No. 3:21-cv-06118-JD
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 1   Dated: December 21, 2023   Respectfully submitted,
 2
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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ RESPONSE TO THE SECOND
      AMENDED COMPLAINT AND MOTION TO DISMISS BRIEFING SCHEDULE – No. 3:21-cv-06118-JD
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     STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ RESPONSE TO THE SECOND
      AMENDED COMPLAINT AND MOTION TO DISMISS BRIEFING SCHEDULE – No. 3:21-cv-06118-JD
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 1                                          ATTESTATION

 2          Pursuant to Local Rule 5-1(i)(3), I attest that each signatory above has concurred in the

 3 filing of this document and has authorized the use of his or her electronic signature.

 4 Dated: December 21, 2023                       SELENDY GAY ELSBERG PLLC

 5                                                By:    /s/ Jordan A. Goldstein______________
                                                         Jordan A. Goldstein
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      STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ RESPONSE TO THE SECOND
       AMENDED COMPLAINT AND MOTION TO DISMISS BRIEFING SCHEDULE – No. 3:21-cv-06118-JD
              Case 3:21-cv-06118-JD       Document 137        Filed 12/21/23      Page 6 of 6




 1                                       [PROPOSED] ORDER

 2            PURSUANT TO STIPULATION, IT IS HEREBY ORDERED THAT:

 3            1.   The deadline for Defendants to answer, move against, or otherwise respond to the

 4 Second Amended Complaint is March 29, 2024.

 5            2.   If the Defendants move to dismiss the Second Amended Complaint, the deadline

 6 for Plaintiffs to file any opposition to the motion to dismiss is May 28, 2024; and the deadline for

 7 Defendants to file any reply is July 12, 2024.

 8
     Dated:
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10
                                                 Hon. James Donato
11                                               United States District Judge

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      STIPULATION AND [PROPOSED] ORDER REGARDING DEFENDANTS’ RESPONSE TO THE SECOND
       AMENDED COMPLAINT AND MOTION TO DISMISS BRIEFING SCHEDULE – No. 3:21-cv-06118-JD
